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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ALMA KOSS, et al.,                                    )
                                                      )      No.     17 CV 2762
                              Plaintiffs,             )
                                                      )
       v.                                             )      Judge Gottschall
                                                      )
FELICIA NORWOOD and JAMES DIMAS,                      )
                                                      )      Magistrate Judge Kim
                              Defendants.             )

                           DEFENDANTS’ MOTION TO DISMISS

       Defendants Felicia Norwood, Director of the Illinois Department of Healthcare and

Family Services, and James Dimas, Secretary of the Illinois Department of Human Services, by

and through their attorney, Lisa Madigan, Attorney General of the State of Illinois, pursuant to

Rule 12(b)(6) of the Federal Rules of Civil Procedure, move to dismiss Plaintiffs’ complaint for

failure to state a claim upon which relief can be granted, the grounds for which are set forth in

Defendants’ Memorandum of Law in Support of their Motion to Dismiss (ECF No. 28).


LISA MADIGAN
Attorney General of the State of Illinois

                                                                           By:      /s/ Brian F. Kolp
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                                                                             /s/ Michael D. Arnold
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Case: 1:17-cv-02762 Document #: 30 Filed: 06/26/17 Page 2 of 3 PageID #:228



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                                CERTIFICATE OF SERVICE

      I hereby certify that I have caused true and correct copies of the above and foregoing
Defendants’ Motion to Dismiss to be served upon all parties of record via ECF on June 26,
2017.


                                                                                /s/ Brian F. Kolp
                                                                                BRIAN F. KOLP
                                                                      Assistant Attorney General




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